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The Honorable Richard A. Jones

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
CHANGPENG ZHAO, aka “CZ,”

Defendant.

AT SEATTLE

NO. CR23-179RAJ

ACCEPTANCE OF PLEA OF
GUILTY, ADJUDICATION
OF GUILT AND NOTICE
OF SENTENCING

This Court, having considered the Report and Recommendation of the United States

Magistrate Judge, to which there has been no timely objection, and subject to consideration

of the Plea Agreement pursuant to Fed. R. Crim. P. 11, hereby accepts the plea of guilty of

the defendant to the charge contained in Count 1 of the Information, and the defendant is

adjudged guilty of such offense. All parties shall appear before this Court for sentencing as

directed.

IT IS SO ORDERED this day of November, 2023.

Acceptance of Plea of Guilty- 1
United States v. Zhao, CR23-179RAJ

HON. RICHARD A. JONES
UNITED STATES DISTRICT JUDGE

UNITED STATES ATTORNEY
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